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                                 Exhibit 4
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February 2, 2024


NAVFAC SE


RE: Project Labor Agreement (PLA) Questionnaire - B2080 Renovation of Galley, Emergency Department and Pharmacy
    at Naval Air Station Jacksonville, Florida.


Dear Ms. Torrence and Ms. Betteridge,

RQ Construction, LLC (RQ) respectfully submits our response to this PLA Request to the Government to determine the
market capabilities of potential contractors to construct this important Renovation of Galley, Emergency Department and
Pharmacy in Jacksonville, Florida. We have provided our response on the following pages.

If we may be of any further service, please do not hesitate to contact Travis Nichols, Director of Pursuits, at: (760) 477-
8633, TNichols@rqconstruction.com.


Sincerely,




George H. Rogers, III, President and CEO
RQ Construction, LLC
1620 Faraday Avenue
Carlsbad, CA 92008
(760) 631-7707
direct: (760) 477-8659
e-mail: GRogers@rqconstruction.com




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                    Construction Projects in the State of Florida/Naval Air Station Jacksonville, FL
                                   Project Labor Agreement (PLA) Questionnaire

                           Questions                                                           Responses
Which trades are likely to be employed on a project of this type?      RQ anticipates the following trades will be employed on this
                                                                       project: Concrete, Masonry, Structural Steel, Millwork, Thermal
                                                                       Insulation, Roofing, Sheet Metal, Metal Doors and Frames,
                                                                       Wood Doors, Door Hardware, Glass and Glazing, Steel Stud and
                                                                       Drywall, Acoustical Ceilings, Ceramic/Porcelain Tile, Carpet
                                                                       and Resilient Flooring, Demolition, Paint, Building Specialties,
                                                                       Fire Suppression, Plumbing, HVAC, DDC Controls, Test and
                                                                       Balance, Commissioning, Electrical, Earthwork, Site Utilities,
                                                                       and Landscaping. We are an “Open Shop” firm and are presently
                                                                       using union workers on non-PLA contracts.
Does the local market contain sufficient number of available Yes. We believe there is an available skilled labor pool in the
skilled workers for a project of this type?                            market which remains competitive in terms of price, productivity,
  1. Are the other projects in the vicinity going to limit the pool of quality, and safety.
     skilled labor available for your project?                           1. No. Although, inclusion of mandated PLA language will
  2. What investments have been made to support registered                  likely only serve to complicate the procurement process and
     apprenticeship programs?                                               reduce available skilled labor by eliminating firms who are
                                                                            open shop.
                                                                         2. None
Have PLAs been used on similar projects within this state/location No, our firm is not aware of any PLAs being used.
that were undertaken by the public or private sector?

Have PLAs been used on other similar construction projects in
other nearby regions?

If so, please provide supporting documentation.
Please provide available information on recent (2-5 years) Our firm has yet to complete a project in Florida; however, we
construction projects in the local labor market for the project have large projects ongoing in Florida, and we run a large barge
under consideration. Include the following items, if available: and tug operation out of Florida which has given us the necessary
                                                                understanding of the current labor markets.
• Project Name/Location
                                                                Below is a listing of our current projects in Florida along with
• Project Description
• Initial Cost Estimated/Actual Final Cost                      a similar project completed in Virginia in the last 2-5 years.
• Was the project completed on time                             Projects utilized an average of 40 Tier 1 and Tier 2 subcontractors
• Number of craft trades present on the project                 including Divisions 02 through 33. A PLA was not used on any of
• PLA (Y/N)                                                     the below projects.
• Were there any challenges experienced during the project Project List:
     (delays, investigations, health and safety issues, labor
     shortages, management/ organizational issues, etc)?        Project 1:
                                                                Project Name and Location: P832 Fitness Training Center, NAS
                                                                Pensacola, FL
                                                                Project Description: This project includes the design and
                                                                construction of an approximately 44,900 GSF Consolidated
                                                                Fitness Facility at NAS Pensacola, Florida. This facility will serve
                                                                the enlisted student personnel assigned to Naval Air Technical
                                                                Training Center (NATTC) and replace the existing fitness buildings
                                                                that were severely damaged by Hurricane Sally. The new Fitness
                                                                Facility must be adequately sized to accommodate the needs of
                                                                approximately 6,000 military personnel.
                                                                The design and construction of this project will include all
                                                                pertinent site alterations; structural elements including concrete
                                                                foundations and steel framing systems; mechanical systems
                                                                to support adequate heating, ventilation, and air conditioning;
                                                                plumbing systems to support mechanical systems and domestic
                                                                potable water systems; electrical systems including power, interior


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                                             and exterior lighting and support for mechanical systems;
                                             telecommunications system to support facility requirements; fire
                                             protection systems including fire suppression system and fire
                                             alarm system; and all architectural elements and systems.
                                             Initial Cost Estimated: $31,345,000
                                             Completion Date: Estimated Completion: June 2, 2025
                                             Prime Contractor: RQ Construction, LLC
                                             Project 2:
                                             Project Name and Location: Hurricane Sally P806 Substation,
                                             NAS Pensacola, FL
                                             Project Description: The work to be performed provides for the
                                             design and construction of a new electrical distribution system
                                             that will consist of a new outdoor 115kV incoming utility service
                                             and new 15kV switchgear SS-B. The 15kV switchgear will be
                                             housed in a newly constructed 2,100-SF building. The location
                                             for SS-B provides convenient access points for re-feeding power
                                             to existing systems. Upon completion of the new substation, the
                                             existing substation will be demolished.
                                             Initial Cost Estimated: $24,287,000
                                             Completion Date: Estimated Completion: March 23, 2026
                                             Prime Contractor: RQ Construction, LLC
                                             Project 3:
                                             Project Name and Location: Triton Maintenance Training Facility,
                                             Naval Station Mayport, Jacksonville, FL
                                             Project Description: The work of this project converts building
                                             1430 at Naval Station Mayport for use as a maintenance training
                                             facility for the MQ-4C “Triton”, a UAV (unmanned aerial
                                             vehicle). The original design/use of building 1430 was for waste
                                             incineration and related storage functions. The gross square
                                             footage of the existing “high bay” building is 26,514 SF. The
                                             new required building program “net area” is 28,060 SF, which
                                             therefore substantially exceeds the existing building gross square
                                             footage. The primary challenge of this project is to “build-out”
                                             the new program within the existing “high bay” volume of the
                                             building as defined by the location of the existing exterior wall
                                             columns, and the existing roof profile as defined by the existing
                                             roof structure and associated roof purlins.
                                             Initial Cost Estimated: $27,411,000
                                             Estimated Completion Date: July 1, 2026
                                             Prime Contractor: RQ Construction, LLC
                                             Project 4:
                                             Project Name and Location: Repair and Renovation of Building
                                             282, NSA Hampton Roads Portsmouth Annex, VA
                                             Description: This project involves the repair and renovation of
                                             unaccompanied housing Building 282. The renovation work
                                             includes upgrades such that all major building systems meet current
                                             code requirements and ATFP standards, including redesigning of
                                             parking, new fire lane, upgraded electrical system, floor supports,




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                                                                 and replacing heating, ventilation, and air conditioning systems.
                                                                 Initial vs. Final Dollar Value: $17,586,039 (Cost control not
                                                                 applicable to firm fixed price contracts)
                                                                 Completion Date: March 28, 2020
                                                                 Prime Contractor: RQ -DPR JV
                                                                 Project 5:
                                                                 Project Name and Location: P334 LOGSU Two Operations
                                                                 Facility, JEB Little Creek-Fort Story, Virginia Beach, VA
                                                                 Description This project provided the design and construction a
                                                                 new 30,100-SF Logistic Supply Building, 25,500-GSF Armory,
                                                                 and 21,500 GSF Boat Storage Facility. This single contract
                                                                 also included the renovation of buildings 3853 and 3855 and
                                                                 demolishing of existing buildings 3805 and 3836. P334 LOGSU
                                                                 Two features open and private offices, breakrooms, boat storage,
                                                                 warehouse storage, weapons and parts storage, weapons
                                                                 maintenance, and weapons cleaning. Site improvements consisted
                                                                 of site infrastructure and utilities, loading dock with dock leveler,
                                                                 asphalt and concrete paving, sidewalks, landscaping site lighting,
                                                                 areas for four powered prefabricated hazmat storage units and
                                                                 unpowered prefabricated hazmat storage units, and stormwater
                                                                 management.
                                                                 Initial vs. Final Dollar Value: $32,393,331 (Cost control not
                                                                 applicable to firm fixed price contracts)
                                                                 Completion Date: May 2, 2020
                                                                 Prime Contractor: RQ Construction, LLC
Which CBAs are likely to expire during the course of the project We do not have the data necessary to accurately respond to this
under consideration that might cause delays?                     question.
How do open shop and union wage rates influence prevailing           We are not aware of any similar projects in the area or nearby
wage rates in the local market and compare to Construction Wage      regions that have used PLAs.
Rates Requirements statute formerly known as the Davis-Bacon
Act rates?
What impact would unionization in the local market have on
wages?
Could a PLA contribute to cost savings in any of the following         We do not believe that a PLA would contribute to cost savings from
ways?                                                                  any of the above noted ways. PLAs naturally inhibit competition
                                                                       and complicate both the procurement and execution process;
•   Harmonization of shifts and holidays between the trades to typically resulting in increased costs and additional risk exposure.
    cut labor costs?                                                   The mandate of a PLA would exclude hundreds of subcontractors
•   Minimizing disruptions that may arise due to expiration of currently working for the Government who have already proven
    CBA?                                                               compliance in these areas.
•   Is availability of trained, registered apprentices, sufficient for
    highly skilled workforce?
•   Allowing for changes in apprentice-to-journeyman ratio.
•   Serving as a management tool that ensures highly skilled
    workers from multiple trades are coordinated in the most
    efficient way?
•   Other?




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Could a PLA minimize risk and contribute to greater efficiency in We are unaware of any published studies establishing that
any of the following ways?                                        the use of PLAs has contributed to greater efficiency in any of
                                                                  these areas. We do not believe that a PLA would minimize risk
• Mechanisms to avoid delays                                      and contribute to greater efficiencies in any of the above noted
• Complying with Construction Wage Rate Requirements, ways. In general, the PLA clauses we have reviewed appear to
    overtime and other labor standards, safety rules, EEO and restrict our ability to recruit and obtain a skilled workforce via the
    OFCCP laws.                                                   subcontractor market. We have observed that some subcontractors
• Ensuring a steady supply of skilled labor in markets with low won’t submit bids if there is a mandated PLA. Inclusion of PLA
    supply or high competition for workers                        language presents the opportunity for litigation and protests and
                                                                  reduces available skilled labor by eliminating firms who are
                                                                  open shop. The mandate of a PLA would exclude hundreds of
                                                                  subcontractors currently working for the Government who have
                                                                  already proven compliance in these areas. Without the presence
                                                                  of a PLA, our firm has maintained 26 years of compliance and
                                                                  customer satisfaction performing contracts for the Department
                                                                  of Defense, with current and historic safety statistics and small
                                                                  business utilization exceeding prescribed Government standards.

  Are there ways in which a PLA might increase costs on a Again, additional administrative and project management controls
    project?                                              and resources are required to properly propose and execute work
                                                          performance to comply with the project-specific agreement that
                                                          otherwise would not exist if PLA language was not present. Our
                                                          recent experience with solicitations that contained provisions
                                                          for both PLA and non-PLA costs indicate a trend for increased
                                                          bid/proposal costs for the PLA covered bid. Our historical data
                                                          indicates cost increases under PLA coverage, but the amount
                                                          depends on the agreed to rates in the PLA and any variance from
                                                          the Davis–Bacon Wage Determinations, as well as any possibility
                                                          of union contract requirements restricting productivity or cost
                                                          efficiency based on crew makeup. Finally, we have observed that
                                                          some subcontractors won’t submit bids if there is a mandated
                                                          PLA. That has reduced competition in bids and resulted in higher
                                                          overall bid costs proposed to the Government for the PLA option.




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